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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MINNESOTA

                                            )
                                            )
    SMARTMATIC USA CORP., SMARTMATIC )
    INTERNATIONAL HOLDING B.V., and SGO )
    CORPORATION LIMITED,                    )
                                            )               Case No. ______________
                           Plaintiffs,      )
                                            )
    v.                                      )
                                            )
    MICHAEL J. LINDELL and MY PILLOW, INC.,
                                            )
                           Defendants.      )
                                            )
                                            )
                                            )
                                            )

                    RULE 7.1 CORPORATE DISCLOSURE STATEMENT
        I, the undersigned counsel of record for Smartmatic USA Corp., Smartmatic International

Holding B.V., and SGO Corporation Limited, certify to the best of my knowledge and belief, the

following:

•    Smartmatic International Holding B.V. is owned 100% by SGO Corporation Limited.

•    Smartmatic International Holding B.V. does not have 10% or more stock owned by a publicly
     held corporation

        These representations are made in order that the judges of this Court may determine the

need for recusal.




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